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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

           Plaintiff and Counterclaim
           Defendant,
                                        Case No. 1:19-CV-11438-PBS
     v.
                                        JURY TRIAL DEMANDED
OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,                        Leave to File Granted on July 31, 2020

           Defendant and Counterclaim
           Plaintiff




OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S REPLY IN SUPPORT OF ITS
 MOTION TO DISMISS COUNTS IX-XIII OF THE FIRST AMENDED COMPLAINT
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                                       INTRODUCTION

       Nuance’s opposition does not change the facts pleaded in the amended complaint: for

years, Nuance has had in its possession all the information it needed to bring these new claims.

The opposition does not rebut that Nuance knew, or reasonably should have known, of the facts

underlying the amended claims. Nor has Nuance identified any facts in the amended complaint

justifying Nuance’s failure to investigate or to act sooner. Nuance even failed to proffer facts to

rebut the additional information Omilia provided, which corroborate Nuance’s knowledge. For

all these reasons, Nuance’s amended claims are time-barred.

       In addition, the opposition fails to show why Nuance should proceed on its

circumvention, CFAA, conversion, and trespass to chattels claims. All of the newly amended

claims should be dismissed, with prejudice, and without leave to amend.

                                          ARGUMENT

       NUANCE FAILS TO SHOW IT LACKED KNOWLEDGE OF THE AMENDED
       CLAIMS

       A.      Nuance Pleaded Facts Showing It Knew of the Amended Claims

       Nuance argues it had a “suspicion” that Omilia was “misusing” its licenses, “including

under-reporting of license volumes and misuse of Nuance evaluation licenses” (Op. at 1), but

that it remained unaware of Omilia’s alleged downloads of Nuance software (Op. at 3) (“Nuance

had no information or evidence suggestive of any specific wrongdoing by Omilia other than a

hunch.”). But the amended complaint pleaded more than a “hunch”: in addition to its

knowledge of a dispute with Omilia as to the purported under-reporting of licenses that Nuance

deemed a “breach” of the 2011 Agreement (Dkt. No. 102 ¶¶ 28-30), Nuance pleaded that “[a]s a

result of the abnormally rapid pace of Omilia’s product development, Nuance has long suspected

that Omilia took advantage of its role as a Nuance reseller and short-cut its ASR development




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process” (id. ¶ 33), and Nuance was in possession of detailed logs showing purported downloads

of Nuance software (see id. ¶ 40). This knowledge caused Nuance’s claims to accrue.

       B.      Nuance Pleaded Specific Knowledge of Its Claims

       Nuance argues it lacked knowledge of the specific facts giving rise to its claims. See Op.

at 3. Citing Monsarrat, Nuance argues that it must have possessed knowledge of the “specific

wrongful conduct” for its claims to have accrued. Op. at 7 n.5 (citing Monsarrat v. Zaiger, 303

F. Supp. 3d 164 (D. Mass 2018)). Monsarrat did not discuss the level of specificity required; it

stated only that the copyright holder must possess knowledge of “the act which is the basis for

the claim,” as opposed to knowledge of the specific infringer. Monsarrat, 303 F. Supp. 3d at

166. A party need not know exactly how the infringement occurred to be on notice of the

infringement. See Warren Freedenfeld Assocs. v. McTigue, 531 F.3d 38, 44 (1st Cir. 2008)

(requiring only that plaintiff “possess information fairly suggesting some reason to investigate

whether he may have suffered an injury at the hands of a putative infringer”); see also Evox

Prods. LLC v. Chrome Data Solutions, 3:16-cv-0057-PK, 2018 U.S. Dist. LEXIS 197882, at

*50-51 (D. Or. Sep. 6, 2018) (concluding that the plaintiff did not exercise reasonable diligence

to discover the alleged copyright infringement because plaintiff “could have conducted the same

analysis . . . in 2012 that he conducted in 2014”). Regardless, Nuance had specific knowledge of

each claimed act of access, infringement, and circumvention – detailed download logs showing

each of Omilia’s purported downloads of the software files. See Dkt. No. 102 ¶ 40.

       C.      Nuance Did Not Plead Facts Showing Its Purported Lack of Knowledge Was
               Reasonable

       Nuance suggests that its lack of knowledge of the claims was reasonable. See Op. at 6-7.

The amended complaint, however, fails to plead any facts showing why Nuance’s lack of

knowledge was reasonable.



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       Citing VBConversions, Nuance argues that “evidence of wrongdoing [] on computer

records within plaintiff’s possession” is not sufficient to find the plaintiff had knowledge of the

wrongdoing. Op. at 6. The case is not on point. In VBConversions, the plaintiff developed a

software tracking system that sent reports of unlicensed uses by third parties. VBConversions,

LLC v. Exida LLC, 13-cv-8306-PSG-JEMX, 2014 WL 12561086, at *2 (C.D. Cal. July 17,

2014). The tracking system logged nearly 400,000 entries which were “too numerous” to be

viewed manually; plaintiff had to rely on automated scans of the data. Id. The copyright owner

alleged that it was unable to identify potential infringements by third parties until it created a

new, more sophisticated data mining technology. See id. The court found that the plaintiff

adequately pleaded that it acted with reasonable diligence and that the pre-data mining tracking

system did not detect and could not have detected defendant’s activities. See id. at *4.

       Unlike in VBConversions, Nuance has not pleaded any facts showing why it could not

have learned of the unauthorized download from the download log files in its possession. Nor

has Nuance pleaded how the information in the logfiles might have been concealed or difficult to

learn, especially where Nuance had reason to investigate further – i.e., the existence of a dispute

between the parties that led to termination of the 2011 agreement, and a long-held suspicion that

Omilia had engaged in improper behavior to quickly develop competing ASR products. See Dkt.

No. 102 ¶¶ 28-30, 33. Similarly, Nuance’s citation to Warren Freedenfeld Associates (Op. at 6-

7) is unpersuasive as the case concerned whether publicly available records, as opposed to

records already within the plaintiff’s possession, triggered the inquiry notice. See Warren

Freedenfeld Assocs., 531 F.3d at 46.

       Nuance claims it “had no reason to look at the logfiles, so there was no triggering event

under the discovery rule.” Op. at 7. But Nuance has it backwards; the recording of the




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downloads in the logfiles is knowledge of the claims, or at least a triggering event that

necessitated further investigation – as were Nuance’s knowledge of its license dispute with

Omilia (Dkt. No. 102 ¶¶ 28-30) and its long-held suspicion of alleged wrongdoing on the part of

Omilia in light of the “abnormally rapid pace of Omilia’s product development” (id. ¶ 33).

Nuance’s amended complaint concedes that it has long been on inquiry notice of its claims.

         NUANCE HAS NOT RAISED A DISPUTED ISSUE OF MATERIAL FACT
         PRECLUDING SUMMARY JUDGMENT

         In response to Omilia’s proffer of facts outside of the record – the November 2015 letter

and a declaration from Dimitris Vassos – Nuance argues that Omilia “fail[ed] to address the

appropriate standard under Rule 56(a).” Op. at 8. The opposition does not explain how Omilia

fails to address the Rule 56(a) standard, or why that matters. Nuance’s argument is beside the

point.

         In its motion, Omilia presented information demonstrating that Nuance was on notice of

its claims since at least 2015. See Dkt. No. 121 at 10-12. Nuance has proffered no facts refuting

these materials. To avoid summary judgment, Nuance must come forward with facts to rebut

Omilia’s factual assertions. See Persson v. Boston Univ., 15-14037-JGD, 2019 U.S. Dist. LEXIS

29111, at *27 (D. Mass Feb. 25, 2019) (“[w]here, as here, the nonmovant bears the burden of

proof on the dispositive issue, it must point to ‘competent evidence’ and ‘specific facts’ to stave

off summary judgment.”) (citing Tropigas de P.R., Inc. v. Certain Underwriters at Lloyd’s of

London, 637 F.3d 53, 56 (1st Cir. 2011)). Nuance has offered no facts disputing Omilia’s

evidence, and Nuance does not point to allegations pleaded in the amended complaint to support

its conclusion that a dispute exists as to whether Nuance was on notice in 2015. Accordingly,

Nuance has not demonstrated that a genuine issue of fact exists, and summary judgment is

warranted that Nuance’s claims are barred by the applicable statutes of limitations. See



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Zamoyski v. Fifty-Six Hope Rd. Music Ltd., 718 F. Supp. 2d 128 (D. Mass. 2010) (dismissing

copyright infringement claim on summary judgment as time barred, and noting that “[t]he non-

moving party bears the burden of placing at least one material fact into dispute after the moving

party shows the absence of any disputed material fact”).

       NUANCE FAILS TO STATE A CIRCUMVENTION CLAIM

       Nuance claims that Omilia’s argument as to the circumvention claim “conflicts with the

plain language of the statute” (Op. at 10), but the opposite is true: Nuance’s claim has no basis

in the Copyright Act. Nuance characterizes its servers as having a “digital ‘wall’ that generally

prohibits access,” and the entry of a password as “not encountering” such a wall. Op. at 10.

Nuance cites no authority for this characterization, which appears to suggest that any use of a

password to access a technological system constitutes circumvention for purposes of § 1201,

even where the password is intended to facilitate access. See Op. at 10-11 (“when a user enters a

password, the access protections are ‘avoid[ed], bypass[e], … [or] deactivate[d],’ which are all

forms of circumvention included in the DMCA’s definition”). Nuance’s misreading of § 1201

also ignores case law holding that the use of “a username/password combination as intended,” as

Omilia allegedly used here, does not constitute circumvention. Egilman v. Keller & Heckman,

LLP., 401 F. Supp. 2d 105, 113 (D.D.C. 2005).

       Nuance’s citation to Reimerdes (Op. at 11-12) is unpersuasive. At issue in Reimerdes

was § 1201(a)(2), the anti-trafficking provision of the DMCA, not § 1201(a)(1)(A). See

Universal City Studios v. Reimerdes, 111 F. Supp. 2d 294, 316 (S.D.N.Y. 2000). The reverse

engineering of DVD players to obtain and distribute license keys in Reimerdes is far different

from Omilia’s use of a username and password provided by Nuance to access Nuance’s servers.

Nuance’s argument that “the Court should reject Omilia’s invitation to depart from Reimerdes”

is a straw man, as Omilia has neither cited nor relied on that case. See Op. at 12.


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          NUANCE FAILS TO STATE A COMPUTER FRAUD AND ABUSE ACT CLAIM

          To avoid dismissal of its CFAA claim, Nuance cites cases generally holding that

employees using login credentials after the termination of their employment were acting

“without authorization.” Op. at 14-15. The former relationship between Nuance and Omilia,

comprising various contracts and licenses, was not an employer-employee relationship. See Dkt

No. 102 ¶¶ 17-25. Nuance pleaded no facts to support its claim that at the time of Omilia’s

access, Omilia had “no authorization because any prior authorization had expired or was

revoked,” only that the 2011 Partnership Agreement had terminated. Op. at 14; see Dkt. No. 102

¶¶ 2, 215-23; see also Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir.

2015) (“a defendant can run afoul of the CFAA when he or she has no permission to access a

computer or when such permission has been revoked explicitly.”) (emphasis added).

          The most Nuance can argue is that Omilia’s alleged conduct was a “violation[] of a

contract or term of service,” which only violates 18 U.S.C. § 1030 under the broad interpretation

of “exceeds authorized access.” T.H. Glennon Co. v. Monday, 18-cv-30120-WGY, 2020 U.S.

Dist. LEXIS 45917, at *27 (D. Mass. Mar. 17, 2020). Nuance provides no explanation, however,

why the Court should adopt the broad interpretation. In light of established doctrine favoring

narrow construction of statutes to avoid imposing criminal liability where there is ambiguity, a

broad interpretation of the CFAA is not warranted. See id. at *29-30 (citing United States v.

Nosal, 676 F.3d 854, 859 (9th Cir. 2012) and United States v. Gray, 780 F.3d 458, 468 (1st Cir.

2015)).

          THE COPYRIGHT ACT PREEMPTS NUANCE’S STATE LAW CLAIMS

          Nuance argues that its trespass to chattels claim is directed to a right not covered by the

Copyright Act as it relates to “web crawling,” and that its conversion claim includes an “extra

element” of unauthorized access. Op. at 17-18. Neither argument is persuasive.


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       Nuance cites eBay for the proposition that “courts have found a claim for trespass to

chattels to be different in kind from a copyright infringement claim, and therefore not

preempted.” Op. at 17. eBay is not on point. The case analyzed a claim for trespass to chattels

under California law, and Nuance has not explained how California law is applicable to a

Massachusetts trespass to chattels claim. See eBay Inc. v. Bidder’s Edge, Inc., 100 F. Supp. 2d

1058, 1069 (N.D. Cal. 2000). The case is also distinguishable on the facts. In eBay, the alleged

unauthorized access related to robots accessing eBay’s website approximately 100,000 times a

day over several months, compared to the discrete number of logins and downloads alleged in

the amended complaint. Compare eBay, 100 F. Supp. 2d at 1071, with Dkt. No. 102 ¶ 40.

       Nuance’s argument as to the conversion claim is similarly flawed. Citing another

California case applying California law, Nuance argues that its conversion claim includes an

“extra element” – unauthorized access or improper appropriation. Op. at 17-18 (citing Glass Egg

Digital Media v. Gameloft, Inc., 17-cv-04165-MMC, 2018 U.S. Dist. LEXIS 130219 (N.D. Cal.

Aug. 2, 2018)). As explained in Omilia’s motion to dismiss, the pleaded facts do not show that

Omilia exceeded authorized access. See Dkt. No. 121, at 15-17. And Nuance provides no

authority that conversion under Massachusetts law requires an “extra element” of unauthorized

access or improper access. Compare Glass Egg Digital Media v. Gameloft, Inc., 17-cv-04165-

MMC, 2018 U.S. Dist. LEXIS 130219, at *17-19 (N.D. Cal. Aug. 2, 2018), with Children’s

Hosp., Corp. v. Cakir, 15-cv-13281, 2017 U.S. Dist. LEXIS 147123, at *7 (D. Mass. Sept. 12,

2017) (a claim for conversion under Massachusetts law requires a plaintiff to show “that (1) the

defendant intentionally and wrongfully exercised control over property owned or possessed by

the defendant; (2) the plaintiff was damaged; and (3) if the defendant legitimately gained




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possession under a good-faith claim of right, the plaintiff's demand for the return of the property

was refused.”).

       NUANCE HAS NO BASIS TO SEEK STATUTORY DAMAGES OR
       ATTORNEY’S FEES

       Nuance claims that its request for statutory damages and attorney’s fees is permitted “to

avoid a later potential waiver argument,” and to preserve the remedy for trial if facts demonstrate

either (1) there was a break in the alleged infringement or (2) the alleged infringement was

substantially different before and after the copyright registrations. Op. at 18. Nuance does not

cite any case support for this proposition. Nor does Nuance plead any facts supporting either

scenario or facts suggesting any claims accrued post-registration. See Ez-Tixz v. Hit-Tix, Inc.,

919 F. Supp. 728, 736 (S.D.N.Y. 1996) (where plaintiff’s complaint alleged that infringement

began prior to registration, dismissal of claims for statutory damages and attorney’s fees was not

premature); Johnson v. Jones, 149 F.3d 494, 506 (6th Cir. 1997) (“infringement ‘commences’ for

purposes of § 412 when the first act in a series of acts constituting continuing infringement

occurs.”).

       Allowing Nuance to “preserve” a remedy for trial that is unsupported by properly pleaded

factual allegations is not appropriate. If this were the rule, any plaintiff could avoid dismissal

based on unpleaded, speculative allegations. The correct approach is set forth under the Federal

Rules: a party may, after discovery of supporting facts, and upon motion and for a showing of

good cause, seek leave to amend the pleadings. See Fed. R. Civ. P. 15(a)(2). In the absence of

supporting facts, Nuance’s request for relief for statutory damages and attorney’s fees must be

dismissed.




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       NUANCE SHOULD NOT BE GRANTED LEAVE TO AMEND

       Contrary to Nuance’s claim that Omilia “offers no basis or explanation for why such

dismissal should be with prejudice” (Op. at 19), Omilia did explain why the court should dismiss

with prejudice: amendment would be futile (see Dkt. No. 121, at 1, 11). Nuance’s November

2015 letter and the declaration of Dimitris Vassos, which Nuance has not rebutted, show that

there is no material dispute of fact that Nuance knew, as early as November 2015, of the facts

giving rise to its claim. Nuance’s vague offer of “additional, more detailed facts” (Op. at 19) is

not sufficient. See Epstein v. C.R. Bard, Inc., 460 F.3d 183, 190-191 (1st Cir. 2006) (upholding

dismissal with prejudice where plaintiff “alleged no new facts or argument to suggest that an

amendment would have strengthened his case in the slightest”); Allen v. Beverly Hills, 911 F.2d

367, 373 (9th Cir. 1990) (denying leave to amend is proper “when the movant presented no new

facts but only new theories and provided no satisfactory explanation for his failure to fully

develop his contentions originally”).

                                         CONCLUSION

       For the reasons set forth above and in Omilia’s memorandum in support of its motion to

dismiss, the Court should dismiss with prejudice Counts IX-XIII of Nuance’s First Amended

Complaint.




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Dated: July 29, 2020                      Respectfully Submitted,



                                          By /s/ Kevin C. Adam______

                                          Kevin C. Adam (SBN 684955)
                                          Daniel S. Sternberg (SBN 688842)
                                          WHITE & CASE LLP
                                          75 State Street, 24th Floor
                                          Boston, MA 02109
                                          (617) 979-9300
                                          Kevin.adam@whitecase.com
                                          Daniel.sternberg@whitecase.com

                                          Of Counsel:
                                          Dimitrios Drivas (admitted pro hac vice)
                                          Raj Gandesha (admitted pro hac vice)
                                          Stefan Mentzer (admitted pro hac vice)
                                          John Padro (admitted pro hac vice)
                                          WHITE & CASE LLP
                                          1221 Avenue of the Americas
                                          New York, NY 10020-1095
                                          (212) 819-8286
                                          ddrivas@whitecase.com
                                          rgandesha@whitecase.com
                                          smentzer@whitecase.com
                                          john.padro@whitecase.com

                                          Hallie Kiernan (admitted pro hac vice)
                                          WHITE & CASE LLP
                                          3000 El Camino Real
                                          Two Palo Alto Square, Suite 900
                                          Palo Alto, CA 94306
                                          (650) 213-0300
                                          hallie.kiernan@whitecase.com

                                          Counsel for Omilia Natural Language
                                          Solutions, Ltd.




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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on July 31, 2020, with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5.4 (c). Any other counsel of record will be served by First Class

U.S. Mail on this same date.

                                                   /s/ Kevin C. Adam
                                                   Kevin C. Adam




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